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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                         CASE NO. 1:13cr23-MW/GRJ

ANDROPOLI S JIOBERITI MITCHELL,

________________________________________/

                       ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 45, to which there has been no timely objections, and subject to

this Court’s consideration of the plea agreement pursuant to Rule 11(e)(2), Federal

Rules of Criminal Procedure, the plea of guilty of the Defendant, Andropolis

Jioberiti Mitchell, to Counts One, Three, and Four of the Indictment against him is

hereby ACCEPTED. All parties shall appear before this court for sentencing as

directed.

      SO ORDERED on January 24, 2014.

                                            s/Mark E. Walker
                                            United States District Judge
